Case 5:21-cv-03828-JLS Document 1-6 Filed 08/27/21 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
MCS Industries,

(b) County of Residence o

Inc.

f First Listed Plaintiff

Northampton

(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorneys (lirm Name, Address, and Telephone Number)

Gavin P. Lentz, Esq.

Bochetto & Lentz, P.C., 1524 Locust Street, Philadelphia,

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

DEFENDANTS
Aldi, Inc.

NOTE:
THE TRACT

Attomeys (if Known)

 

County of Residence of First Listed Defendant

Kane

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

 

 

 

 

 

 

 

 

 

PA 19102
Il. BASIS OF JURISDICTION (Place an” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaimiff
(For Diversity Cases Only) and One Box for Defendant)
(1 U.S. Government [X]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State CL] l Cc] 1 Incorporated or Principal Place CO 4 Cj4
of Business In This State
Cl 2 U.S, Government L]4 Diversity Citizen of Another State | 2 LC] 2 Incorporated and Principal Place C] 5 CJ 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a TC 3 EJ 3 Foreign Nation C] 6 Ls
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane | 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 | 372%a))
140 Negotiable Instrument Liability CJ 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical Ss 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking

151 Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
Cc 153 Recovery of Overpayment
of Veteran's Benefits
Cc] 160 Stockholders’ Suits
L] 190 Other Contract
195 Contract Product Liability
196 Franchise

Liability

340 Marine

345 Marine Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

360 Other Personal
Injury

362 Personal Injury -

330 Federal Employers’

Product Liability
[_] 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
380 Other Personal
Property Damage
C] 385 Property Damage
Product Liability

 

 

   
 

 

| 830 Patent

835 Patent - Abbreviated
New Drug Application

840 Trademark

 

710 Fair Labor Standards

Act
| ]720 Labor/Management
Relations
740 Railway Labor Act
H"% | Family and Medical

 

 

 

Medical Malpractice Leave Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |_|790 Other Labor Litigation
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | 791 Employee Retirement
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate
240 Torts to Land 443 Housing! Sentence
245 Tort Product Liability Accommodations —_ [__] 530 General
290 All Other Real Property [_] 445 Amer. w/Disabilities -[__] 535 Death Penalty [IMMIGRATION _|
Employment Other: 462 Naturalization Application
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration
Other 350 Civil Rights Actions
] 448 Education 555 Prison Condition

560 Civil Detainee -
Conditions of

|__| 880 Defend Trade Secrets
Act of 2016

[SOCIAL SECURITY |
861 HIA (1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(g))
864 SSID Title XV1

[_] 865 RSI (405(g))

 

450 Commerce

 

 

 

 

870 Taxes (U.S, Plaintiff
or Defendant)

[| 871 IRS—Third Party

26 USC 7609

 

|| 460 Deportation
|_| 470 Racketeer Influenced and
Corrupt Organizations
|] 480 Consumer Credit
(15 USC 1681 or 1692)
| 485 Telephone Consumer
Protection Act
490 Cable/Sat TV
850 Securities/Commodities’
Exchange
|] 890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
- 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

 

 

Confinement

 

V. ORIGIN (Place an “X" in One Box Only)

pe 1 Original
Proceeding

VI. CAUSE OF ACTION

2 Removed from 3
State Court

35 U.S.C. Section 2

 

Remanded from
Appellate Court

71 and 285

Brief description of cause:
Patent Infringement

oo Reinstated or Oo 5 Transferred from

Reopened Another

(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

District
Transfer

6 Multidistrict
Litigation -

El 8 Multidistrict
Litigation -
Direct File

 

VII. REQUESTED IN
COMPLAINT:

[_] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

(See instructions):

DEMAND §
in excess of $150,000

CHECK YES only i
JURY DEMAND:

 

f demanded in complaint:

[x] Yes [No

 

 

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
Aug 27, 2021 /s/ Gavin P. Lentz
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE
